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                                           January 6, 2023



Via CM/ECF
The Honorable Gregory B. Williams
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Unit 26, Room 6124
Wilmington, DE 19801-3555

         Re:       Corteva Agriscience LLC v. Monsanto Company, et al.
                   C.A. No. 22-1046-GBW

Dear Judge Williams:

        Pursuant to Your Honor’s Oral Order setting a Rule 16(b) scheduling conference (D.I. 20),
the Court and counsel may use the following dial-in number and conference code for the Rule
16(b) telephone conference scheduled in this matter for Tuesday, January 10, 2023 at 10:00 a.m.

                   Dial-in number: 888-857-3844
                   Participant’s conference code: 300-347-4786


                                                      Respectfully submitted,




                                                      Chad S.C. Stover (No. 4919)

cc: Counsel of Record (via CM/ECF)
